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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

UNITED STATES OF AMERICA                                )
                                                        )
VS.                                                     )           CASE NO.: 3:07-CR-387-M (04)
                                                        )
CARLOS HUMBERTO BEJARANO                                )

                  ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE
                           CONCERNING PLEA OF GUILTY


        As stated on the record during the sentencing hearing, begun on June 30, 2010, after

reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the consent of the defendant, and the Report and Recommendation Concerning

Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District

Judge is of the opinion that the Report and Recommendation of the Magistrate Judge Concerning

Plea of Guilty is correct, and it is hereby accepted by the Court. The Court accepts the plea of guilty,

and accepts the plea agreement, and the Defendant is hereby adjudged guilty.

        SIGNED this 2nd day of July, 2010.




                                                _________________________________
                                                BARBARA M. G. LYNN
                                                UNITED STATES DISTRICT JUDGE
                                                NORTHERN DISTRICT OF TEXAS
